W. E. LAMM, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.  E. S. LAMM, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.  ETHEL FISHER, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.  ELSA EHLERS, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.  EDITH LAMM, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.  MRS. EDITH LAMM, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Lamm v. CommissionerDocket Nos. 23635, 23767-23771.United States Board of Tax Appeals21 B.T.A. 107; 1930 BTA LEXIS 1919; October 28, 1930, Promulgated *1919 F. E. Youngman, Esq., for the petitioners.  J. E. Mather, Esq., for the respondent.  SEAWELL*107  These proceedings, which were consolidated for hearing and decision, involve the determination of the liability proposed for assessment under section 280 of the Revenue Act of 1926 against each of the petitioners as transferees of the assets of E. C. Lamm, deceased, as follows: W. E. Lamm$392.22E. S. Lamm392.22Ethel Fisher392.23Elsa Ehlers392.23Edith Lamm392.23Mrs. Edith Lamm1,961.133,922.26While in the original petitions errors were assigned on account of the correctness of the deficiency of $3,922.26 asserted against the estate of E. C. Lamm, these errors were withdrawn, leaving for consideration only certain errors relative to the constitutionality of section 280 of the Revenue Act of 1926.  *108  FINDINGS OF FACT.  The petitioners are individuals whose addresses are as follows: W. E. Lamm, Modoc Point, Oreg.  E. S. Lamm, Danville, Ill.  Mrs. Ethel Fisher, Santa Barbara, Calif.Mrs. Elsa Ehlers, Danville, Ill.Mrs. Edith Lamm, Santa Barbara, Calif.Miss Edith Lamm, Santa Barbara, Calif.*1920  It was stipulated by the parties as follows: That each of the petitioners herein are heirs of E. C. Lamm, deceased, late of Danville, Illinois; that the said E. C. Lamm died testate, leaving an estate consisting of real and personal property; that said estate was duly probated in the State of Illinois and that each of the petitioners herein received in final distribution property and assets exceeding in value the taxes with penalty and interest involved in this proceeding, and that said estate has been finally closed, all of its property distributed and the executrix discharged; that the taxes involved in this proceeding were duly and regularly assessed against the taxpayer, a warrant of distraint issued and returned wholly unsatisfied prior to the commencement of the transferee proceedings.  Than in April, 1926, respondent determined against the said E. C. Lamm a deficiency in income taxes for the year 1920 in the sum of $3,848.35, which deficiency is now admitted to be correct.  That under date of December 9, 1926, respondent, proceeding under authority of Section 280 of the Revenue Act of 1926, notified each of the petitioners herein that he proposed to assess and collect*1921  from them as transferees of the estate of E. C. Lamm, deceased, the taxes involved in this proceeding as shown in Exhibit A with statement, attached to the petitions filed herein.  From the notices of December 9, 1926, under Section 280 of the Revenue Act of 1926 the petitioners appealed, alleging errors with respect to adjustments made by the respondent to income of E. C. Lamm for 1920.  The petitioners now admit the audit adjustments made by the respondent as proper and that the determination of he tax liability against E. C. Lamm was correct (the statute of limitations not being involved in this proceeding), but they challenge the validity of Section 280 of the Revenue Act of 1926 and the right of respondent herein to assess and collect the liability sought to be imposed.  OPINION.  SEAWELL: The petitioners admit that the issues now raised by them with respect to the constitutionality of section 280 of the Revenue Act of 1926 and proceedings thereunder have heretofore been considered by the Board in , and many subsequent cases and decided contrary to the contentions advanced by them.  We are not persuaded that we should*1922  change the position previously taken on these questions.  Cf. ; , and . Judgment will be entered for the respondent.